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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND


  GERALD ZARRELLA and                        :
  DEBRA ZARRELLA                             :

  VS.                                        :             C.A. NO.

  KEVIN REGAN and                            :
  PV HOLDING CORP.                           :

                                       COMPLAINT

         The Plaintiffs, Gerald Zarrella and Debra Zarrella in the above-entitled

  matter, allege and say as follows:

                                        PARTIES

         1.     Plaintiff, Gerald Zarrella, at all times material hereto was a resident

  of the Town of Exeter, County of Washington, State of Rhode Island.

         2.     Plaintiff, Debra Zarrella, at all times material hereto was a resident

  of the Town of Exeter, County of Washington, State of Rhode Island.

         3.     Defendant, Kevin Regan, at all times material hereto was a resident

  of 1821 Wyandotte St., #200, Kansas City, MO 64108.

         4.     Defendant, PV Holding Corp., is a corporation with its principle

  place of business located at 300 Centre Pointe Dr., Virginia Beach, VA 67453.

                                    JURISDICTION

         5.     Jurisdiction of this Court is proper under 28 U.S.C. §1332.

  Plaintiffs are residents of the State of Rhode Island, Defendant Kevin Regan is a

  resident of the State of Missouri and Defendant PV Holding Corp.’s principle
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  place of business is in the State of Virginia. The damages sustained by the

  Plaintiffs exceed the sum of $75,000.00, exclusive of interest and costs.

                                 CAUSE OF ACTION
                                    COUNT I:
                                   NEGLIGENCE

         6.     At or about 11:31 a.m. on October 14, 2016, Plaintiff Gerald Zarrella

  was the operator of a motor vehicle, which was stopped in traffic on Division

  Street in East Greenwich, Rhode Island, when struck in the rear by a vehicle

  operated by Defendant Kevin Regan and owned by Defendant PV Holding Corp.

         7.     At the time of said collision, Plaintiff Debra Zarrella was a

  passenger in the vehicle operated by Plaintiff Gerald Zarrella.

         8.     Plaintiff Gerald Zarrella at all times material hereto was in the

  exercise of due care, control and caution.

         9.     At said time and place, Defendant Kevin Regan did negligently,

  carelessly, recklessly, or willfully drive or cause his motor vehicle to be driven

  such that said Defendant caused a collision to occur with the motor vehicle

  operated by the Plaintiff Gerald Zarrella.

         10.    Defendant PV Holding Corp as owner of the vehicle operated by

  Defendant Kevin Regan at the time of the collision is liable under the laws of the

  State of Rhode Island for the injuries, harms and losses caused to Plaintiffs.

         11.    As a direct and proximate result of said collision and the negligence

  of the Defendants as complained of herein, Plaintiffs sustained severe, permanent,

  personal injuries, which incapacitated them, they have been prevented and will
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  continue to be prevented from carrying on their usual activities; they have

  suffered, presently suffer and will in the future suffer great pain of body and mind;

  they incurred and are continuing to incur and will in the future incur great expense

  for medical and hospital care and attention; they incurred, are continuing to incur

  and in the future will incur lost earnings, wages and/or income.

         WHEREFORE, Plaintiffs, Gerald Zarrella and Debra Zarrella seek

  judgment in their favor and against the Defendants, Kevin Regan and PV Holding

  Corp., in an amount sufficient to sustain the jurisdiction of this Court and to be

  determined by the trier of fact for compensatory damages, plus interest and costs.

                                     Plaintiff
                                     By and through their attorney,

                                     /s/ Thomas A. Tarro, III
                                     Thomas A. Tarro, III (#2046)
                                     Kris R. Marotti (#4605)
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  Dated: September 24, 2018

  PLAINTIFFS HEREBY CLAIM THEIR RIGHT TO TRIAL BY JURY.
